       Case 5:18-cr-00327-JGB Document 14 Filed 05/04/20 Page 1 of 4 Page ID #:29


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 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
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       UNITED STATES OF AMERICA,                    NO.5:18-CR-00327-JGB
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                             Plaintiff,
12
                v..                                 ORDER OF DETENTION AFTER
13                                                  HEARING
14     ROBERTO FRAGA WENCES,
                                                    (18 U.S.C.§ 3142(1))
15                           Defendant.
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17
18                                                   I.
19     A.   O         On motion of the Government in a case allegedly involving:
?0 I              1.() a crime of violence;
~1                2.() an offense with a maximum sentence of life imprisonment or death;
~~                3. (X) a narcotics or controlled substance offense with a maximum sentence of
~;                          ten or more years;
~~                4.() any felony -where the defendant has been convicted of two or more
~~                          prior offenses described above;
26                5. O any felony that is not otherwise a crime of violence that involves a minor
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       Case 5:18-cr-00327-JGB Document 14 Filed 05/04/20 Page 2 of 4 Page ID #:30




 I                       victim, or possession or use of a firearm or destructive device or any
                         other dangerous weapon, or a failure to register under 18 U.S.C. § 2250.
 3     I3.(X)      On motion by the Government /()on Court's own motion, in a case allegedly
                   involving:
 J                 1. (X)        a serious risk that the defendant will flee;
 6                 2.()          a serious risk that the defendant will:
 7                        a.() obstruct or attempt to obstruct justice;
 8                        b.() threaten, injure, or intimidate a prospective witness or juror or
 c~                              attempt to do so.
10     C.          The Government(X)is/()is not entitled to a rebuttable presumption that no
11                condition or combination of conditions will reasonably assure the defendant's
12                appearance as required and the safety of any person or the community.
13
14                                                   II.
15     A.   (X)    The Court finds that no condition or combination of conditions will reasonably
16                 assure:
l7                 1.    (X)     the appearance ofthe defendant as required.
18 '                     (X)     and/or
19                 2.    (X)     the safety of any person or the community.
20     B.   (X)    The Court finds that the defendant has not rebutted by sufficient evidence to the
21                 contrary the presumption provided by statute.
?2
?3                                                   III.
~4          The Court has considered:
~~     A.   the nature and circumstances of the offenses) charged;
?6     B.   the weight of evidence against the defendant;
~~     C.   the history and characteristics of the defendant; and
~K     D.   the nature and seriousness ofthe danger to any person or to the community.

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        Case 5:18-cr-00327-JGB Document 14 Filed 05/04/20 Page 3 of 4 Page ID #:31




  1                                                    IV.
              The Court also has considered all the evidence adduced at the hearing and the
 3      arguments and/or statements of counsel, and the Pretrial Services Report and
        recommendation.
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 6                                                     V.
 7            The Court bases the foregoing findings) on the following:
  R     A.    (X)    The history and characteristics ofthe defendant indicate a serious risk that
 9                   the defendant will flee, because the risk of flight is presumed in this case; and
lU                  no bail resources have been proffered to mitigate the risk of flight.
11      t3.   (X)    The defendant poses a risk to the safety of other persons or the community
12                   because of the nature and seriousness of the allegations in this presumption
13                   case.
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15                                                     VI.
16      A.    ()     The Court finds that a serious risk exists that the defendant will:
17                   1.()obstruct or attempt to obstruct justice.
18                   2.()attempt to/( )threaten, injure or intimidate a witness or juror.
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21                                                     VII.
22      A.    IT IS THEREFORE ORDERED that the defendant be detained prior to trial.
23      B.    IT IS FURTHER ORDERED that the defendant be committed to the custody of the
24            Attorney General for confinement in a corrections facility separate, to the extent
25            practicable, from persons awaiting or serving sentences or being held in custody
26            pending appeal.
~~      L.    IT IS FURTHER ORDERED that the defendant be afforded reasonable opportunity
2R ',         for private consultation with counsel.

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        Case 5:18-cr-00327-JGB Document 14 Filed 05/04/20 Page 4 of 4 Page ID #:32




 1      D.   IT IS FURTHER ORDERED that, on order of a Court of the United States or on
 2           request of any attorney for the Government, the person in charge of the corrections
 3           facility in which the defendant is confined shall deliver the defendant to a United
 4           States Marshal for the purpose of an appearance in connection with a court proceeding.
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 6      DATED: May 4, 2020
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                                                             KAREN L. STE ENSON
10                                                     UNITED STATES MAGISTRATE JUDGE
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